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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                             Case No. 1:23-md-3076-KMM


    In RE

    FTX CRYPTOCURRENCY
    EXCHANGE COLLAPSE LITIGATION


    THIS DOCUMENT RELATES TO:

    Law Firms


            DEFENDANT FENWICK & WEST LLP’S MOTION TO DISMISS
            PLAINTIFFS’ ADMINISTRATIVE CLASS ACTION COMPLAINT
              PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE
            12(B)(6) AND 9(B), AND MEMORANDUM OF LAW IN SUPPORT
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            Defendant FENWICK & WEST LLP (“Fenwick”) moves to dismiss Plaintiffs’

   Administrative Class Action Complaint (“Complaint”) [D.E. 153] for failure to state a claim upon

   which relief can be granted.

       I.   INTRODUCTION

            For more than 50 years, Fenwick has provided legal counsel to some of the country’s most

   respected, admired, and innovative companies on matters that have transformed both our economy

   and our way of life, from the incorporation of Apple Computer to the IPOs of such blue-chip

   technology firms as Oracle, eBay, and Facebook. Now, without any basis in fact or law, Plaintiffs

   seek to hold Fenwick liable for alleged damages resulting from the collapse of one client—the

   cryptocurrency trading platform, FTX.1

            Plaintiffs do not contend that Fenwick orchestrated the fraudulent scheme that led to FTX’s

   collapse. On the contrary, the Complaint repeatedly contends that Sam Bankman-Fried, FTX’s

   founder and former CEO, masterminded and carried out that fraud for his own benefit and that of

   his friends and associates. See, e.g., Compl. ¶ 165 (“Samuel Bankman-Fried stole billions of

   dollars from FTX clients’ deposits and used them to cover costs at FTX’s sister company, a crypto

   hedge fund called [A]lameda Research.”); id. ¶ 105 (“SBF looted Class Member funds directly,

   without the cover of sham related party transactions or insider loans.”); id. ¶ 116(a) (“SBF was

   siphoning Class Member funds to his friends and family members or for his own personal use.”).

            Fenwick did not represent Bankman-Fried or the other FTX insiders who executed the

   alleged scheme. Rather, Plaintiffs allege that Fenwick “served as legal counsel . . . for FTX US

   and FTX Trading Ltd.,” Compl. ¶ 190—the corporate entities that Bankman-Fried and his



   1
          FTX is defined in the Complaint as FTX Trading Ltd. and West Realm Shires Services Inc.
   d/b/a FTX US, along with various subsidiaries, affiliates, and related entities. See Dkt. 153
   (“Compl.”) at 5.
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   associates purportedly “looted” for their personal benefit. And Fenwick was hardly the only law

   firm representing FTX. Like most companies with a valuation in the tens of billions of dollars,

   see id. ¶ 53, FTX employed numerous law firms to handle a wide range of matters including

   regulatory compliance, acquisitions, intellectual property, tax issues, and more. See, e.g., In re:

   FTX Trading Ltd., et al., No. 22-11068 (Bankr. D. Del.), Dkt. 28-2 at 10–18 (identifying more

   than 10 law firms that performed work for FTX); Compl. ¶ 9 n.4.

          Plaintiffs nonetheless claim that Fenwick—alone among FTX’s many lawyers—should be

   held liable for conspiring in, and aiding and abetting, Bankman-Fried’s purported fraud,

   negligence, fiduciary breach, and conversion of customer funds because it provided routine legal

   services that, despite being lawful on their own terms, were improperly used by Bankman-Fried

   in furtherance of his fraud. The Court should reject this theory of liability, which strikes at the

   heart of the legal profession, as other courts have routinely done.

          It is black-letter law that an attorney cannot be held liable for conspiracy or aiding and

   abetting a client’s wrong “‘as long as [his] conduct falls within the scope of the representation of

   the client.’” Chance v. Cook, 50 F.4th 48, 51 (11th Cir. 2022) (quoting Farese v. Scherer, 342

   F.3d 1223, 1232 (11th Cir. 2003)); see also Domanus v. Locke Lord LLP, 847 F.3d 469, 482 (7th

   Cir. 2017) (“Claims that lawyers have conspired with their clients are insufficient in the absence

   of allegations that the arrangement involves more than standard legal representation.”). And here,

   the Complaint affirmatively alleges that the acts on which Plaintiffs premise liability “were

   committed within the scope of Fenwick’s employment and in furtherance of the firm’s business.”

   Compl. ¶¶ 256, 264, 272, 280, 288, 294, 306, 309. This is unsurprising, as those acts—including

   “establish[ing] and draft[ing] the incorporation papers” for certain FTX affiliates, id. ¶ 204,

   “provid[ing] legal and commercial advice on a number of FTX’s business transactions,” id. ¶ 211,



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   and “help[ing] FTX US to develop ‘compliance’ procedures,” id. ¶ 216—all fall within the

   standard services provided by law firms. Allowing conspiracy and aiding-and-abetting liability to

   turn on the provision of such routine services “would most certainly have a chilling effect on the

   zealous advocacy we expect out of lawyers,” Chance, 50 F.4th at 51, and would render lawyers

   subject to civil liability whenever a client misuses legal advice to commit a tort.

          Even if Plaintiffs could theoretically state a claim for conspiracy and aiding-and-abetting

   liability based on Fenwick’s provision of legal services to FTX (and they cannot), they have failed

   to plausibly allege facts to support such a claim. Because each of Plaintiffs’ claims sounds in

   fraud, they must satisfy Rule 9(b)’s heightened pleading standard. Plaintiffs cannot meet this

   standard because they fail to “set forth particular allegations about ‘the who, what, when, where,

   and how’ of the circumstances giving rise to the cause[s] of action,” Perkins v. Nat’l LGBTQ Task

   Force, Inc., 580 F. Supp. 3d 1236, 1239 (S.D. Fla. 2021)—specifically, Fenwick’s actual

   knowledge of Bankman-Fried’s fraud, its substantial assistance in that fraud, and the causal link

   between Fenwick’s alleged assistance and Plaintiffs’ harm.

          Plaintiffs also fail to allege a RICO claim against Fenwick. Although the Complaint asserts

   that Fenwick conspired to engage in a RICO enterprise, it does not allege an actual agreement by

   Fenwick to participate in this enterprise—and it certainly fails to do so with the particularity

   required by Rule 9(b). Nor does the Complaint plead facts alleging a cognizable RICO enterprise.

   The Eleventh Circuit has held that “plaintiffs may not plead the existence of a RICO enterprise

   between a corporate defendant and its agents or employees acting within the scope of their roles

   for the corporation.” Cisneros v. Petland, Inc., 972 F.3d 1204, 1215 (11th Cir. 2020). But the

   RICO enterprise alleged here comprises only FTX and its employees and agents.




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             For each of these reasons, the Court should dismiss Plaintiffs’ claims against Fenwick.

   And because Plaintiffs cannot amend their Complaint to state a valid claim, the Court should

   dismiss those claims with prejudice. See Birdette v. Saxon Mortgage, 502 F. App’x 839, 841 (11th

   Cir. 2012) (“A court need not allow an amendment where . . . amendment would be futile.” (citing

   Bryant v. Dupree, 252 F.3d 1161, 1163 (11th Cir. 2001))).

       II.   THE COMPLAINT’S ALLEGATIONS

             Sam Bankman-Fried (or “SBF”) and his associates launched FTX in 2019 as a centralized

   exchange for the trading of cryptocurrency. Compl. ¶ 38.2 Within a few short years, FTX was

   hosting $21 billion in trades per day. Id. ¶ 53. But according to the Complaint, FTX was nothing

   more than “a house of cards.” Id. ¶ 3. Contrary to its representations to the public, “FTX did not

   segregate customer funds or designate them for the customer’s benefit, instead commingling those

   funds in several ‘omnibus’ accounts held by FTX.” Id. ¶ 98. And from those accounts, Plaintiffs

   say Bankman-Fried and his associates “shuffled customer funds between their opaque affiliated

   entities, using new investor funds obtained through investments in the FTX Platform, the YBAs,

   FTT, and/or loans to pay interest and investment withdrawals to the old ones and to attempt to

   maintain the appearance of liquidity.” Id. ¶ 3. The Complaint alleges that, worse still, “FTX

   Insiders including SBF facilitated the routing of billions of dollars in purported profits of FTX,

   which were in reality Class Member funds, to the insiders, and their families, friends, and other

   acquaintances,” which were then “used to fuel uncapped spending on illicit drugs, naming rights

   to sports arenas, concert sponsorships, luxury cars, and private jets.” Id. ¶ 99. Bankman-Fried

   also allegedly used these customer funds to prop up the balance sheet of Alameda Research LLC,




   2
          Fenwick identifies the relevant allegations because the Court must accept them as true for
   purposes of this Motion, but Fenwick reserves all rights to contest the veracity of those allegations.
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   a cryptocurrency hedge fund owned by Bankman-Fried and an associate, by artificially inflating

   the value of FTT, a cryptocurrency distributed by FTX and held in large part by Alameda. Id.

   ¶ 116(j). When the value of cryptocurrency began to decline in mid-2022, FTT’s value declined

   with it, and Bankman-Fried’s alleged fraud was exposed. Id. ¶ 123.

          Although the Complaint alleges that it was FTX and its insiders that “stole” Class Member

   funds for their personal gain, Compl. ¶ 150,3 the Complaint seeks damages from Fenwick, a

   respected law firm that, the Complaint asserts, provided routine legal services to FTX. But

   Fenwick was not the personal lawyer of Bankman-Fried or any of the other FTX insiders who

   conceived and executed the fraudulent scheme. Nor was Fenwick the only law firm or lawyer

   representing FTX. On the contrary, FTX—which had a “valuation [that] topped $32 billion” at its

   peak, id. ¶ 53—was represented by many top-flight law firms, including multiple AmLaw 10

   firms. See In re: FTX Trading Ltd., et al., No. 22-11068 (Bankr. D. Del.), Dkt. 28-2 at 10–18.

          Plaintiffs allege that Fenwick can nevertheless be held liable because Fenwick purportedly

   “provided services to the FTX Group entities that went well beyond those a law firm should and

   usually does provide,” Compl. ¶ 15—services that Bankman-Fried used to carry out the alleged

   scheme. But none of the alleged services provided by Fenwick went beyond (let alone well

   beyond) routine legal services. Stripped of Plaintiffs’ rhetorical flourishes, legal conclusions, and

   unsupported inferences, those alleged services can be reduced to three basic acts—(1) employing

   lawyers that eventually left Fenwick of their own accord to join FTX; (2) forming corporations




   3
           The Complaint “is the controlling document for pre-trial purposes . . . with regard to the
   Law Firm Defendant,” which has been named in two of the actions in this MDL. Compl. at 4
   (citing O’Keefe v. Sequoia Capital Operations, LLC, No. 1:23-cv-20700-KMM (S.D. Fla.); Cabo
   v. Fenwick & West LLP, No. 3:23-cv-03944-JCS (N.D. Cal.)). Although other actions that have
   been consolidated in this MDL name Bankman-Fried as a defendant, neither of the actions against
   Fenwick do so.
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   that Bankman-Fried subsequently used to perpetrate his fraud; and (3) advising FTX on regulatory

   compliance in the new world of cryptocurrency trading. Specifically, the Complaint alleges:

             “Fenwick supplied a pipeline of key personnel to FTX Group, namely attorneys Daniel

              Friedberg and Can Sun, who went directly from Fenwick to FTX Group entities.”

              Compl. ¶ 191.

             “Fenwick helped to establish and draft the incorporation papers for North Dimension

              Inc. (‘North Dimension’) and its sister company, North Wireless Dimension, the fake

              electronics retailer that Bankman-Fried employed as a front to conceal his wiring of

              Class Member funds into accounts held by Alameda.” Id. ¶ 204.

             “As to the North Dimension entities, Fenwick drafted memoranda and otherwise

              advised FTX US, often through their former partner Friedberg, regarding FTX US’s

              regulatory obligations, including its obligations under the Federal and State Money

              Transmission Rules.” Id. ¶ 207.

             Fenwick “propos[ed] to Friedberg that an ‘Intercompany Treasury Management and

              Loan Agreement’ be entered into [] under which Alameda would perform ‘treasury

              management functions’ for FTX. Fenwick attorneys would go on to draft intercompany

              agreements for FTX entities and Alameda to allocate costs and manage the flow of cash

              among these entities.” Id. ¶ 210.

             “Fenwick also provided legal and commercial advice on a number of FTX’s business

              transactions, including FTX Trading Ltd.’s Series B and B-1 capital raises.” Id. ¶ 211.

             “One transaction of particular note was FTX US’s October 2021 acquisition of

              LedgerX LLC . . . , for which Fenwick provided legal and commercial counsel.

              LedgerX was a digital currency futures and options exchange regulated by the CFTC,


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              which had granted licenses to LedgerX to operate as a Designated Contract Market

              (‘DCM’), a Swap Execution Facility (‘SEF’), and a Derivatives Clearing Organization

              (‘DCO’). These licenses provided access to U.S. commodities derivatives markets as

              a regulated exchange, and, with its acquisition of LedgerX, FTX acquired that access

              in one fell swoop. With the help of Fenwick, FTX was able to leverage these three

              licenses in subsequent applications to the CFTC and other regulators.” Id. ¶ 212.

             “In a filing with the CFTC, FTX US disclosed that ‘FTX US monitors both Federal and

              State level development with its outside legal counsel, Fenwick & West LLP. FTX US

              has worked closely with Fenwick & West LLP on the development of its BSA program,

              as well as documentation and compliance assessments.’ Fenwick helped FTX US to

              develop ‘compliance’ procedures designed to skirt FTX’s regulatory obligations and/or

              conceal its noncompliance therewith.” Id. ¶ 216.

          Plaintiffs do not allege that any one of these acts (or all of them) is independently wrongful,

   much less actionable. Rather, Plaintiffs contend that they support liability because “Fenwick

   learned that the FTX entities were breaching their fiduciary duties to customers, acting

   inconsistently with their representations to customers, and even misappropriating customer funds,”

   yet continued to “provide legal assistance despite this knowledge.” Compl. ¶ 203. But Plaintiffs

   allege only three sources of that purported knowledge: (1) an inference from the fact that “[t]he

   provision of Fenwick’s services required due diligence and monitoring,” id. ¶ 199; (2) Fenwick’s

   “close ties with its former attorneys in Friedberg and Sun,” id. ¶ 203; and (3) purported

   “communications with FTX executives,” id. ¶ 208. As to the alleged communications, the

   Complaint identifies only a single January 2021 email and follow-up in which Friedberg informed

   Fenwick that “‘[s]ome FTX cash and crypto is held by Alameda for the benefit of FTX customers.



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    As we wade into the audit, the explanation here is important. We propose a ‘cash management’

    agreement between the affiliates somehow where FTX gets first dibs on Alameda’s cash.’” Id.

    ¶ 208. Although the Complaint alleges that “Friedberg was concerned by the possible release of

    information revealing that FTX was keeping customer money outside of FTX entities,” it

    specifically acknowledges that Fenwick dutifully (and accurately) informed its client that such

    disclosure was essential: “[W]e’ll need to disclose . . . the material terms of all related party

    transactions.” Id. ¶ 209. A lawyer’s representation of a client and knowledge of their employees

    does not make them omniscient as to the client’s inner workings.

            The Complaint alleges claims for (1) civil conspiracy, (2) aiding and abetting fraud,

    (3) aiding and abetting the negligence of FTX US, (4) aiding and abetting the negligence of FTX

    Trading, Ltd., (5) aiding and abetting fiduciary breach by FTX US, (6) aiding and abetting

    fiduciary breach by FTX Trading Ltd., (7) aiding and abetting conversion, and (8) conspiracy to

    violate the federal RICO statute, 18 U.S.C. § 1962(d).           It seeks certification of a class of

    international and domestic FTX customers, compensatory damages, restitution and disgorgement,

    attorney’s fees, and injunctive relief. See Compl., Prayer for Relief. For the reasons set forth

    below, each of these claims against Fenwick is fatally deficient, and the Complaint should be

    dismissed in its entirety.

    III.    ARGUMENTS AND AUTHORITIES

            “[T]o survive a motion to dismiss under [Rule 12(b)(6)], a complaint must contain

    sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

    570 (2007)). This factual matter must consist of more than mere labels, legal conclusions, or a

    “formulaic recitation of the elements of a cause of action.” Id. “Where a complaint pleads facts



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    that are merely consistent with a defendant’s liability, it stops short of the line between possibility

    and plausibility of entitlement to relief.” Id.

           Plaintiffs’ Complaint fails to meet this pleading standard against Fenwick for three reasons.

    First, Plaintiffs fail to allege that Fenwick acted outside the scope of its representation of FTX,

    which is an essential element of any conspiracy or aiding-and-abetting claim against a law firm.

    Second, Plaintiffs fail to allege that Fenwick knew of Bankman-Fried’s alleged fraud, and they

    likewise fail to allege facts from which the Court can reasonably infer such knowledge. Plaintiffs

    also fail to allege that Fenwick substantially assisted that fraud or caused Plaintiffs’ alleged

    damages. Third, Plaintiffs do not adequately allege that Fenwick agreed to participate in a RICO

    enterprise, which is a necessary element of the RICO conspiracy claim pleaded in the Complaint,

    or even that there was a cognizable RICO enterprise in the first place.

           A.      Plaintiffs Fail to State a Claim for Conspiracy or Aiding-and-Abetting
                   Liability Because They Do Not Allege That Fenwick Acted Outside the Scope
                   of Its Representation of FTX (Counts 1–8).

           Although conspiracy and aiding-and-abetting claims typically allow for broad liability

    against a party that knowingly furthers the wrong of another, plaintiffs must allege more when

    such a claim is leveled against a lawyer in connection with the acts of a client. Courts have long

    recognized that the special relationship that exists between a lawyer and his client requires an extra

    layer of protection when a plaintiff accuses a lawyer of conspiring with, or aiding and abetting, his

    client in the commission of a tort. As the Eleventh Circuit has observed, “‘[t]he right of a litigant

    to independent and zealous counsel is at the heart of our adversary system and, indeed, invokes

    constitutional concerns.’” Farese, 342 F.3d at 1231 (quoting Heffernan v. Hunter, 189 F.3d 405,

    413 (3d Cir. 1999)). But if an attorney could be held liable as a co-conspirator whenever he

    provides legal services to a client who goes on to use those services to further its own misconduct,

    it “would most certainly have a chilling effect upon the zealous advocacy we expect out of
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    lawyers.” Chance, 50 F.4th at 51. For this reason, courts in the Eleventh Circuit and beyond have

    held that “as long as an attorney’s conduct falls within the scope of the representation of his client,

    such conduct is immune from an allegation of a . . . conspiracy.” Farese, 342 F.3d at 1232; see

    also Domanus, 847 F.3d at 482 (affirming dismissal of a RICO conspiracy claim against attorneys

    because “[c]laims that lawyers have conspired with their clients are insufficient in the absence of

    allegations that the arrangement involves more than standard legal representation”); RSM

    Production Corp. v. Freshfields Bruckhaus Deringer U.S. LLP, 682 F.3d 1043, 1051 (D.C. Cir.

    2012) (upholding dismissal of a RICO conspiracy claim against a law firm because “the complaint

    alleges no conduct by Freshfields beyond the provision of normal legal services in arbitration and

    so fails to support a reasonable inference that Freshfields ‘agree[d] to assist others in the

    commission of unlawful acts.’”); In re Mojo Brands Media, LLC, 2022 WL 2389185, at *11

    (Bankr. M.D. Fla. Apr. 12, 2022) (“To substantially assist a breach of fiduciary duty ‘the lawyer

    must actively participate in the breach . . . .’ In other words, . . . providing routine legal services

    to a client is not enough.”); Miller v. Harden, 2006 WL 5083825, at *6 (M.D. Fla. Sept. 7, 2006)

    (noting that a “conspiracy cannot exist when an attorney’s conduct falls within the broad scope of

    representation of his client”).

           Plaintiffs repeatedly—and affirmatively—allege that the acts for which they seek to hold

    Fenwick liable “were committed within the scope of Fenwick’s employment and in furtherance of

    the firm’s business.” Compl. ¶ 256 (Count 2); id. ¶ 264 (Count 3); id. ¶ 272 (Count 4); id. ¶ 280

    (Count 5); id. ¶ 288 (Count 6); id. ¶ 294 (Count 7); id. ¶¶ 306, 309 (Count 8). Indeed, as discussed

    above, see supra at 6–7, Plaintiffs premise liability on Fenwick’s provision of routine legal

    services: “Fenwick agreed with its co-conspirator(s) to commit the overt acts alleged herein, each

    in furtherance of fraud and conversion of Class Members’ property, including (1) forming shell



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    entities, including North Dimension and North Wireless Dimension, through which FTX Group

    siphoned misappropriated Class Members’ funds; (2) structuring acquisitions and other

    transactions by which FTX US expanded its product offerings—and, by extension, its reach to

    victims—and through which FTX US dodged regulatory scrutiny to obtain necessary licenses to

    operate in desired markets; and (3) generating for the FTX entities the appearance of legitimate

    operations, strict adherence to regulatory obligations, and esteem for legal compliance, which

    permitted the scheme to grow in scale and persist in duration.” Compl. ¶ 239 (emphases added).

           As the Supreme Court has made clear, “determining whether a complaint states a plausible

    claim is context specific, requiring the reviewing court to draw on its experience and common

    sense.” Iqbal, 556 U.S. at 663–64. Because forming companies, structuring acquisitions, and

    advising clients on regulatory compliance are precisely the types of routine legal services that

    thousands of lawyers across the country provide every single day, Plaintiffs’ allegations stop well

    “short of the line between possibility and plausibility of entitlement to relief.” Id. at 678. Indeed,

    if Plaintiffs’ allegations were sufficient to state a claim against Fenwick for conspiracy and aiding-

    and-abetting liability, then any lawyer could be hauled into court and forced to answer for his

    client’s misconduct. That is not the law.

           To be sure, Plaintiffs elsewhere state—in apparent contradiction with the preceding

    allegations—that “Fenwick provided services to the FTX Group entities that went well beyond

    those a law firm should and usually does provide.” Compl. ¶ 15. But Plaintiffs ground this claim

    solely on conclusory assertions that Fenwick lawyers supposedly “craft[ed] not only creative, but

    illegal strategies” and “advised on FTX US’s regulatory dodge.” Id. These are not factual

    allegations but legal conclusions that a court is not required to credit on a motion to dismiss. See




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    Iqbal, 556 U.S. at 678 (“[T]he tenet that a court must accept as true all of the allegations contained

    in a complaint is inapplicable to legal conclusions.”).

            Plaintiffs may claim the Complaint alleges that Fenwick acted outside the scope of its

    representation by stating that Fenwick “provided legal and commercial advice on a number of

    FTX’s business transactions,” Compl. ¶ 211 (emphasis added), including FTX Trading Ltd.’s

    Series B and B-1 capital raises and FTX US’s acquisition of LedgerX, id. ¶¶ 211–12. But it is

    widely acknowledged that the scope of an attorney’s representation extends to providing

    commercial and business advice. See, e.g., United States v. Chen, 99 F.3d 1495, 1501–02 (9th Cir.

    1996) (“If a person hires a lawyer for advice, there is a rebuttable presumption that the lawyer is

    hired ‘as such’ to give ‘legal advice,’ whether the subject of the advice is criminal or civil, business,

    tort, domestic relations, or anything else. . . . That the lawyers were ‘involved in business decision-

    making’ . . . is irrelevant.”); Chance v. Cook, 2020 WL 13559018, at *4 (N.D. Fla. Mar. 23, 2020)

    (“[T]he scope of an attorney’s representation is broad, and not limited to defending cases on the

    merits.”); Staley v. Gilead Scis., Inc., 2021 WL 4318403, at *2–3 (N.D. Cal. July 16, 2021)

    (collecting cases holding that attorney-client relationship applies, and protects communications,

    even where an attorney advises on business decisions). In fact, “[s]o long as [the attorneys’]

    actions ‘were motivated not by personal concerns but by concerns for their clients,’ they are not

    ‘susceptible to characterization as a conspiracy[.]’” Cook, 2020 WL 13559018, at *4 (quoting

    Farese, 342 F.3d at 1332).

            There can be little doubt that a law firm—especially a full-service firm like Fenwick that

    forms corporations, advises on regulatory compliance, and negotiates the acquisition of

    subsidiaries on a daily basis—acts for the benefit of its client when it provides commercial advice

    in the context of that work. Indeed, the Model Rules of Professional Conduct explicitly state that



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    “[i]n rendering advice, a lawyer may refer not only to law but to other considerations such as

    moral, economic, social and political factors, that may be relevant to the client’s situation.” Model

    Rules of Professional Conduct, Rule 2.1 (emphasis added); cf. Bellsouth Advertising & Pub. Corp.

    v. American Business Lists, Inc., 1992 WL 338392, at *8 (N.D. Ga. Sept. 8, 1992) (“The mere

    mention of business considerations is not enough to compel disclosure of otherwise privileged

    material. . . . Legal advice should remain protected along with ‘nonlegal considerations, discussed

    between client and counsel that are relevant to that consultation[.]’”).

           Florida law likewise prohibits conspiracy claims against a lawyer acting within the scope

    of his representation under the “intra-corporate conspiracy doctrine,” which provides that members

    of a corporation cannot conspire with themselves. This doctrine “stems from basic agency

    principles that attribute the acts of agents of a corporation to the corporation, so that all of their

    acts are considered to be those of a single legal actor.” Mancinelli v. Davis, 217 So. 3d 1034, 1037

    (Fla. 4th DCA 2017) (quotation marks omitted).          “Because a civil conspiracy requires ‘an

    agreement between two or more parties,’ ‘it is not possible for a single legal entity consisting of

    the corporation and its agents to conspire with itself.’” Id.4



    4
            Florida law governs under well-established choice-of-law principles. “[T]he test to
    determine which law applies to aiding and abetting claims is provided by the Restatement (Second)
    Conflict of Laws § 145.” In re Estategias en Valores, S.A., 628 B.R. 722, 734 (Bankr. S.D. Fla.
    2021). Under that test, the court will apply “the local law of the state which . . . has the most
    significant relationship to the occurrence and the parties.” Restatement (Second) Conflict of Laws
    § 145(1). In financial misconduct cases, courts have typically held that the state where the
    misconduct is centered has the most significant relationship. See, e.g., Amegy Bank Nat’l Ass’n v.
    DB Private Wealth Mortg., Ltd., 2014 WL 791503, at *5 (M.D. Fla. Feb. 24, 2014) (applying
    Georgia law because “most of the alleged conduct of conversion, aiding and abetting, and
    conspiracy all occurred in Georgia”); In re Estategias en Valores, 628 B.R. at 735 (applying
    Colombian law because, among other things, “Estraval was incorporated under Colombian law
    and had done business in Colombia for 16 years before it was forced into liquidation”). Here, that
    is Florida. And notably, Plaintiffs appear to agree that Florida law governs. See Compl. ¶ 10
    (“Since the initial complaints in this MDL were filed, it has become even more clear that Florida

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            Florida courts routinely apply the intra-corporate conspiracy doctrine to bar claims alleging

    that a lawyer conspired with his client. In Lipsig v. Ramlawi, 760 So. 2d 170 (Fla. 3d DCA 2000),

    for example, the plaintiff alleged that a lawyer conspired with his client to exclude him from a

    partnership. Id. at 174. The court rejected the claim, concluding that the lawyer “acted on behalf

    of and at the direction of the [client].” Id. at 181. Similarly, in Richard Bertram, Inc. v. Sterling

    Bank & Trust, 820 So. 2d 963 (Fla. 4th DCA 2002), the court held the plaintiff could not state a

    claim for civil conspiracy against a yacht seller’s attorney because “the attorney’s acts are the acts

    of the principal, the client.” Id. at 966.

            The only recognized exception to the intra-corporate conspiracy doctrine occurs where “the

    agent has a personal stake in the activities that are separate and distinct from the corporation’s

    interest.” Cedar Hills Props. Corp. v. Eastern Fed. Corp., 575 So. 2d 673, 676 (Fla. 1st DCA

    1991). Ordinary compensation does not constitute a sufficient personal stake for purposes of this

    exception. See Mancinelli, 217 So. 3d at 1037–38 (concluding that “the allegations in C3’s

    complaint do not show that Davis had a ‘personal stake’ in the conspiracy different from that of

    the corporation” because “[a]ny benefits Davis received as a result of his allegedly tortious actions,

    including increased compensation, were merely incidental to the benefits [Davis’s employer]

    received”). Yet receiving ordinary legal fees for its services is the only stake Fenwick is alleged

    to have had in its purported conspiracy with FTX. See, e.g., Compl. ¶ 217 (“In aiding the FTX

    entities with their wrongdoing, Fenwick was motivated by the substantial fees it would enjoy in

    return for the services it rendered.”); id. ¶ 306 (“[I]n exchange for Fenwick’s counsel in these

    matters, FTX paid Fenwick significant fees.”).



    law applies to all Class Members on the securities-related claims.”); id. ¶ 234 (“[A]nother
    predominant issue regarding the MDL Defendants’ liability is whether they have violated the
    consumer protection and securities laws of Florida.”).
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           Because the Complaint does not—and cannot—allege that Fenwick acted beyond the scope

    of its representation of FTX or provided anything other than ordinary legal services to the company

    in purported furtherance of Bankman-Fried’s fraud, each of the eight conspiracy and aiding-and-

    abetting claims fail as a matter of law and should be dismissed. And because the Complaint

    affirmatively concedes that all of the acts for which it seeks to hold Fenwick liable were performed

    within the scope of Fenwick’s representation of FTX, the Complaint should be dismissed with

    prejudice.5

           B.      Plaintiffs Fail to State a Claim for Aiding-and-Abetting Liability Because They
                   Do Not Allege Essential Elements of Those Claims (Counts 2–7).

           Even if the allegations in the Complaint were not based on Fenwick’s work within the

    scope of its representation of FTX, Plaintiffs’ claims for aiding and abetting fraud, negligence,

    fiduciary breach, and conversion should be dismissed for failure to adequately plead necessary

    elements of those claims. Although only one of those four claims expressly invokes fraud, all of

    them sound in fraud—and, as a result, all of them must satisfy Rule 9(b)’s heightened pleading

    standard. See Yuanxiao Feng v. Walsh, 2020 WL 5822420, at *15 (S.D. Fla. Sept. 14, 2020)

    (“[T]he following claims are generally subject to Rule 9(b)’s heightened pleading requirements

    because those claims are rooted in fraud: Aiding and Abetting Conversion . . . ; Aiding and

    Abetting Breach of Fiduciary Duty.”); Cozzarelli v. Inspire Pharms. Inc., 549 F.3d 618, 629 (4th

    Cir. 2008) (“When a plaintiff makes an allegation that has the substance of fraud . . . , he cannot

    escape the requirements of Rule 9(b) by adding a superficial label of negligence.”). Under that

    heightened pleading standard, the Complaint must “set forth particular allegations about the who,



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           Plaintiffs’ RICO claim under 18 U.S.C. § 1962(d) is merely a species of a conspiracy claim.
    See Compl. ¶ 297 (“Fenwick agreed and conspired . . . to violate 18 U.S.C. § 1962(c).”); Salinas
    v. United States, 522 U.S. 52, 63 (1997) (“The relevant statutory phrase in § 1962(d) is ‘to
    conspire.’ We presume Congress intended to use this term in its conventional sense.”).
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    what, when, where, and how of the circumstances giving rise to the cause[s] of action” and “alert

    defendants to the precise misconduct with which they are accused.” Perkins, Inc., 580 F. Supp. 3d

    at 1239 (quotation marks omitted).

           Plaintiffs Fail to Allege Aiding-and-Abetting Liability Generally (Counts 2–7). “[A]

    claim for aiding and abetting contains three elements: ‘(1) an underlying violation on the part of

    the primary wrongdoer; (2) knowledge of the underlying violation by the alleged aider and

    abett[o]r; and (3) the rendering of substantial assistance in committing the wrongdoing by the aider

    and abettor.’” Gilbert & Caddy, P.A. v. JP Morgan Chase Bank, N.A., 2015 WL 12862724, at *5

    (S.D. Fla. Aug. 20, 2015) (quoting Lawrence v. Bank of America, N.A., 455 F. App’x 904, 907

    (11th Cir. 2012)). Additionally, the plaintiff must plead that the conduct was a legal and proximate

    cause of the plaintiff’s injuries. See Worldspan Marine Inc. v. Comerica Bank, 2020 WL 1238732,

    at *14 (S.D. Fla. Feb. 27, 2020) (“Aiding and abetting fraud is a tort in Florida and like all torts,

    additionally requires a plaintiff to demonstrate injury resulting from the alleged misconduct.”).

    Here, even assuming an underlying violation on the part of FTX, Plaintiffs’ claims against Fenwick

    fail because Plaintiffs have not alleged any of the remaining elements.

           First, Plaintiffs fail to plausibly allege that Fenwick had actual knowledge of FTX’s

    purported wrongdoing. Although actual knowledge may be established by either direct or

    circumstantial evidence, “courts ‘stress that the requirement is actual knowledge’ and the

    circumstantial evidence must demonstrate that the aider-and-abettor actually knew of the

    underlying wrongs committed.” Wiand v. Wells Fargo Bank, N.A., 938 F. Supp. 2d 1239, 1244

    (M.D. Fla. 2013) (emphases in original). Red flags and suspicions do not create actual knowledge.

    See Platinum Estates, Inc. v. TD Bank, N.A., 2012 WL 760791, at *4–5 (S.D. Fla. Mar. 8, 2012)

    (“Plaintiff has failed to allege sufficiently the requisite degree of scienter, because ‘red flags or



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    aroused suspicions do not constitute actual awareness of one’s role in a fraudulent scheme.’”);

    Cordell, 2012 WL 13148744, at *5 (S.D. Fla. July 11, 2012) (“‘Red flags,’ or ‘aroused suspicions,’

    do not constitute actual awareness.”). Thus, even in a case involving a Ponzi scheme, the provision

    of routine services does not satisfy the “actual knowledge” standard. See Lawrence v. Bank of

    America, N.A., 455 F. App’x 904, 907 (11th Cir. 2012). Nor does reckless conduct. See Wiand,

    938 F. Supp. 2d at 1247 (“There is no authority in Florida tort law for imposing aiding-and-

    abetting liability on a bank that is reckless but lacks actual knowledge of an underlying wrong.”).

    Instead, there must be a “conscious and specific motivation” to aid the underlying misconduct.

    Court Appointed Receiver of Lancer Offshore v. Citgo Group, Ltd., 2008 WL 926513, at *6 (S.D.

    Fla. Mar. 31, 2008).

           Plaintiffs’ claims do not meet this standard. The Complaint alleges that Fenwick acquired

    knowledge of FTX’s misconduct through (1) “[t]he provision of Fenwick’s services[, which]

    required due diligence and monitoring,” Compl. ¶ 199, (2) Fenwick’s “close ties with its former

    attorneys in Friedberg and Sun,” id. ¶ 203, and (3) purported “communications with FTX

    executives,” id. ¶ 208. But these threadbare allegations fall far short of specifying the precise

    claimed misconduct, as required by Rule 9(b).

           For example, although Plaintiffs allege that Fenwick’s due diligence would have included

    “reviewing the organizational documents for the FTX entities, including certificates of

    incorporation or formation, by-laws and other agreements” and “reviewing finance documents

    including intracompany loans or other related party agreements, guarantees and promissory notes,”

    Compl. ¶ 199, Plaintiffs do not identify which of these documents (if any) would have disclosed

    Bankman-Fried’s scheme. In fact, all Plaintiffs allege is that “through th[is] work and diligence,

    Fenwick would have necessarily been aware of the representations FTX US and FTX Trading Ltd.



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    made to their customers and/or regulators,” id. ¶ 200 (emphasis added)—not FTX’s alleged breach

    of those representations.6 This is not enough to satisfy Rule 9(b)’s particularity requirement. See

    West Coast Roofing & Waterproofing, Inc. v. John Manville, Inc., 287 F. App’x 81, 86 (11th Cir.

    2008) (“To satisfy Rule 9(b)’s ‘particularity’ standard, we generally require that a complaint

    identify (1) the precise statements, documents or misrepresentations made; (2) the time and place

    of and persons responsible for the statement; [and] (3) the content and manner in which the

    statements misled the plaintiff.”).

           Likewise, the “communications with FTX executives” identified in the Complaint consist

    of excerpts from a single back-and-forth with Daniel Friedberg—the only communication alleged

    to have occurred between Fenwick and either Friedberg or Can Sun—in which Friedberg

    purportedly sought legal advice about how to properly account for “‘[s]ome FTX cash and crypto

    [that] is held by Alameda for the benefit of FTX customers.’” Compl. ¶ 208. While Plaintiffs

    contend that this gave Fenwick actual notice that FTX had breached its “duty to exercise

    reasonable care with its customer deposits,” id., the email does no such thing. Rather, as far as the

    excerpts selectively provided by Plaintiffs reveal, this exchange simply sought advice on an

    intercompany cash management agreement—an agreement that Fenwick insisted FTX would need

    to publicly disclose. Id. ¶ 209. Plaintiffs’ selective quotations from a privileged and confidential

    email do not plausibly allege that Fenwick knew of FTX’s alleged violation.




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           Indeed, Plaintiffs’ other allegations show that FTX’s recordkeeping practices would have
    made it difficult for anyone—including Fenwick—to uncover wrongdoing based on document
    review. See, e.g., Compl. ¶ 141(h) (“‘[T]ransfers of funds among those entities were not properly
    documented, rendering tracing of funds extremely challenging,’ including using Slack, Signal, and
    Telegram with ‘disappearing messages’ enabled and often approving expenses and invoices on
    Slack by ‘emoji.’”).
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             Second, Plaintiffs fail to plausibly allege that Fenwick substantially assisted Bankman-

    Fried in his alleged fraud. “Substantial assistance occurs when a defendant affirmatively assists,

    helps conceal, or fails to act when required to do so, thereby enabling the breach to occur.” Groom

    v. TD Bank, N.A., 2012 WL 50250, at *4 (M.D. Fla. Jan. 9, 2012); see also Johnson v. Branch

    Banking & Trust Co., 2015 WL 13791141, at *6 (M.D. Fla. Sept. 16, 2015) (definition of

    “substantial assistance” applied in the context of aiding and abetting fraud). In other words,

    substantial assistance requires more than providing routine legal services for a client or

    “conducting activities that make up the ‘daily grist of the mill.’” In re Cascade Int’l Securities

    Litig., 840 F. Supp. 1558, 1566 (S.D. Fla. 1993), on reconsideration, 894 F. Supp. 437 (S.D. Fla.

    1995).

             The only assistance allegedly provided by Fenwick consisted of routine legal services—

    such as forming subsidiaries, structuring acquisitions, and advising on legal compliance and

    regulatory obligations—that FTX and its insiders subsequently used to commit fraudulent and

    wrongful acts. See Compl. ¶¶ 263, 271, 279, 287 294, 254. But as discussed above, see supra at

    11–13, these acts fall fully within the scope of Fenwick’s representation of FTX, or any client.

    Accordingly, courts have rejected aiding-and-abetting claims against lawyers based on materially

    similar allegations.

             In Schatz v. Rosenberg, 943 F.2d 485 (4th Cir. 1991), for example, the Fourth Circuit

    considered whether “a lawyer provides ‘substantial assistance’ in aiding and abetting tortious

    conduct if he prepares and disseminates documents containing material misrepresentations or

    omissions.” Id. at 497. The court answered in the negative, explaining that “the ‘substantial

    assistance’ element requires that a lawyer be more than a scrivener for a client; the lawyer must

    actively participate in soliciting sales or negotiating the terms of the deal on behalf of a client to



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    have ‘substantially assisted’” the allegedly wrongful behavior. Id. Put differently, “a plaintiff

    must prove that a defendant rendered ‘substantial assistance’ to the primary . . . violation, not

    merely to the person committing the violation.” Id. (emphasis added); see also id. at 495

    (“[L]awyers do not vouch for the probity of their clients when they draft documents reflecting their

    clients’ promises, statements, or warranties.”).

           Plaintiffs do not allege that Fenwick substantially assisted the “primary” tortious conduct

    identified in the Complaint. Rather, Plaintiffs allege only that Fenwick substantially assisted FTX

    by providing indisputably lawful and ordinary legal services—such as the incorporation of entities

    and provision of regulatory advice—which FTX then supposedly misused (or ignored) to execute

    the alleged scheme. As a result, Plaintiffs have not plausibly alleged substantial assistance.

           Third, Plaintiffs fail to plausibly allege with the required specificity that Fenwick’s conduct

    was the proximate cause of their injury. The Complaint asserts that the purported fraud was

    executed “through at least two separate schemes” allegedly perpetrated by FTX insiders, “both of

    which contributed to the downfall of the FTX Group”: (1) “SBF and the FTX Group stole customer

    deposits and used billions of dollars in customer funds” for personal purposes, and (2) “FTX Group

    offered and sold securities without proper registration, thereby depriving Plaintiffs of financial and

    risk-related disclosures that would have impacted their calculus as to whether to invest in the FTX

    Group.” Compl. ¶¶ 2-4. Regarding the first alleged scheme, Fenwick’s only alleged involvement

    was assisting in the incorporation of two “shell” entities through which Bankman-Fried

    misappropriated client funds; the Complaint provides no factual detail about the role of these two

    entities in the broader scheme, including how much money was diverted through them and whether

    and how Bankman-Fried and his associates chose to divert funds through those entities as

    compared to other artifices, such as personal loans. The Complaint certainly alleges nothing done



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    or known by Fenwick beyond the incorporation of the entities. See id. ¶ 104. Regarding the second

    alleged scheme, the Complaint alleges that Fenwick helped FTX acquire LedgerX LLC, through

    which FTX acquired “access to the U.S. commodities derivatives markets as a regulated

    exchange.” Compl. ¶ 212. But Plaintiffs do not allege that this was unlawful or that it allowed

    FTX to issue unregistered securities. At bottom, the Complaint does not create a plausible

    inference that Fenwick’s conduct proximately caused harm that was plainly the result of numerous

    overlapping schemes orchestrated by Bankman-Fried and his associates.

           For each of these reasons, Plaintiffs’ aiding-and-abetting claims (Counts 2–7) must be

    dismissed.

           Plaintiffs Fail to Allege Fenwick Aided and Abetted a Fiduciary Breach (Counts 5–6).

    Counts 5 and 6 of the Complaint, for aiding and abetting FTX US’s and FTX Trading Ltd.’s breach

    of their fiduciary duties to customers, fail for the same reason all of Plaintiffs’ claims fail—

    Plaintiffs fail to allege that Fenwick acted outside the scope of its representation to advance the

    alleged breach of fiduciary duty. But this Count also fails for an additional reason: Plaintiffs have

    not alleged specific facts regarding what fiduciary duties, if any, FTX had to consumers, and

    without such allegations, Plaintiffs cannot plausibly allege that Fenwick aided and abetted the

    violation of those purported duties.

           “Fiduciary relationships can be created expressly or impliedly under Florida law.”

    Arbitrajes Financieros, S.A. v. Bank of America, N.A., 605 F. App’x 820, 823 (11th Cir. 2015).

    “Those expressly created are either by contract, such as principal/agent or attorney/client, or

    through legal proceedings, such as trustee/beneficiary and guardian/ward.” Capital Bank v. MCB,

    Inc., 644 So. 2d 515, 518 (Fla. 3d DCA 1994). An implied fiduciary relationship, by contrast, is

    “premised upon the specific factual situation surrounding the transaction and the relationship of



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    the parties.” Id. Implied fiduciary relationships typically arise “when ‘confidence is reposed by

    one party and a trust accepted by the other.’” Id. (quoting Dale v. Jennings, 107 So. 175, 179 (Fla.

    1925)). In determining whether an implied fiduciary relationship exists, courts consider whether

    the alleged fiduciary “1) takes on extra services for a customer, 2) receives any greater economic

    benefit than from a typical transaction, or 3) exercises extensive control” over a customer. Id. at

    519.

            Plaintiffs do not allege that they had an express fiduciary relationship with FTX. And

    while Plaintiffs hint at an implied fiduciary relationship, see Compl. ¶¶ 276, 284, they fail to allege

    such a relationship with the specificity required. See Capital Bank, 644 So. 2d at 518 (concluding

    that, in the ordinary case, “the relationship between a bank and its borrower is that of creditor to

    debtor, in which parties engage in arms-length transactions, and the bank owes no fiduciary

    responsibilities”).

            As a result, Plaintiffs’ claims for aiding and abetting breach of fiduciary duty (Counts 5

    and 6) fail and must be dismissed.

            C.      Plaintiffs Fail to State a RICO Claim Because They Do Not Allege That
                    Fenwick Agreed to Participate in the Alleged Enterprise or That There Even
                    Was a Cognizable RICO Enterprise (Count 8).

            Plaintiffs’ RICO claim arises from the same alleged conduct that underpins their seven

    other claims. The Complaint alleges that “Bankman-Fried directed and controlled a RICO

    enterprise through a pattern of racketeering activity . . . to execute a scheme to defraud” FTX

    customers. Compl. ¶ 298. This enterprise purportedly “shared a common purpose, which was to

    (i) convince and assuage potential and existing customers to entrust FTX US and FTX Trading

    Ltd. with their assets, (ii) conceal their misappropriation of customers’ funds and conflict-of-

    interest activities, and (iii) make their ill-gotten gains available for the co-conspirators[’] personal

    use in interstate and foreign commerce.” Id. ¶ 300. Crucially, however, the Complaint pleads that
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    all of the alleged predicate acts were perpetrated by FTX insiders Bankman-Fried, Caroline

    Ellison, or Friedberg. See id. ¶ 302. Although the Complaint alleges that “Fenwick agreed and

    conspired with Bankman-Fried, Friedberg, FTX Group entities, and others to violate 18 U.S.C.

    § 1962,” id. ¶ 297, Fenwick’s alleged participation in the alleged conspiracy was limited to

    “agreeing to provide and providing legal services to FTX US and FTX Trading Ltd., including

    through advice and counsel to Friedberg, an officer of both FTX entities.” Id. ¶ 306.

           Plaintiffs’ attempt to plead a RICO conspiracy claim is no more successful than their

    attempts to plead aiding-and-abetting liability. “To state a claim under RICO a plaintiff must

    allege each of the following four elements: ‘(1) conduct (2) of an enterprise (3) through a pattern

    (4) of racketeering activity.’” Durham v. Business Mgmt. Assocs., 847 F.2d 1505, 1511 (11th Cir.

    1988) (quoting Sedima S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985)). And because Plaintiffs

    allege a RICO conspiracy, they must also allege that Fenwick “agreed to participate in the affairs

    of [the] enterprise.” United States v. Flores, 572 F.3d 1254, 1267 (11th Cir. 2009); see also United

    States v. Green, 981 F.3d 945, 952 (11th Cir. 2020) (“[T]he elements of a RICO conspiracy focus

    on the agreement to commit a crime.”). Plaintiffs must plead each of these elements with the

    particularity required by Rule 9(b). See Ambrosia Coal & Constr. Co. v. Pages Morales, 482 F.3d

    1309, 1316 (11th Cir. 2007) (“Civil RICO claims, which are essentially a certain breed of fraud

    claims, must be pled with an increased level of specificity.”); Dowbenko v. Google Inc., 582

    F. App’x 801, 805–06 (11th Cir. 2014) (“Because Mr. Dowbenko appears to hinge his RICO claim

    on a pattern of fraudulent activity, his ‘substantive RICO allegations must comply not only with

    the plausibility criteria articulated in Twombly and Iqbal but also with Fed. R. Civ. P. 9(b)’s

    heightened pleading standard.’”). The Complaint fails to state a valid RICO conspiracy claim for

    at least two reasons.



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           First, the Complaint is devoid of any allegation that Fenwick agreed to participate in any

    RICO enterprise. See United States v. Starrett, 55 F.3d 1525, 1543 (11th Cir. 1995) (“To establish

    a RICO conspiracy under 18 U.S.C. § 1962(d), the government must prove that the defendants

    ‘objectively manifested, through words or actions, an agreement to participate in the conduct of

    the affairs of the enterprise.’”). Such an agreement “may be shown in two ways: (1) showing an

    agreement on the overall objective of the conspiracy, or (2) showing that a defendant agreed to

    commit personally two predicate acts, thereby agreeing to participate in a ‘single objective.’”

    United States v. Browne, 505 F.3d 1229, 1264 (11th Cir. 2007). The Complaint alleges neither.

           As noted above, see supra at 22–23, the Complaint does not allege that Fenwick personally

    committed any of the purported RICO conspiracy’s predicate acts. On the contrary, each of the

    alleged predicate acts was performed by FTX insiders, such as Bankman-Fried, Ellison, or

    Friedberg. See Compl. ¶ 302.

           Nor does the Complaint allege that Fenwick agreed in any way to the overall objective of

    the conspiracy. According to the Complaint, “Fenwick formed an illegal agreement to violate the”

    RICO statute by “commit[tin]g overt acts in furtherance of [the conspiracy’s] activities,” including

    forming “shell” entities, structuring acquisitions, and advising on legal and regulatory issues. Id.

    ¶¶ 308, 310. But to agree to join a RICO conspiracy, “[o]ne must knowingly agree to perform

    services of a kind which facilitate the activities of those who are operating the enterprise in an

    illegal manner.” Brouwer v. Raffensperger, Hughes & Co., 199 F.3d 961, 967 (7th Cir. 2000)

    (emphasis added). The provision of routine legal services does not establish such knowledge. And

    although the Complaint asserts “Fenwick’s knowledge” of the FTX insiders’ misconduct, Compl.

    ¶ 309, these conclusory allegations fail to satisfy the pleading standard under Rule 9(b), see supra

    at 17–19.



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             The Seventh Circuit’s decision in Domanus is instructive. There, the plaintiffs alleged that

    a law firm engaged in a RICO conspiracy with a group of shareholders to loot the assets of a

    company. 847 F.3d at 479. The court explained that “[t]he first step is to allege that each

    defendant—that is, the individual lawyers and the [law] firms—knew about this conspiracy.” Id.

    “Although a conspirator does not need to know the intricacies and full dimensions of the scheme

    in order to be liable . . . , he must be aware of its essential scope and nature.” Id. The court held

    that allegations indicating the lawyers were exposed to materials that “raised a red flag” about the

    shareholders’ wrongdoing was insufficient to show that the law firm actually knew of the

    conspiracy. Id. at 480. And in the absence of such knowledge, the court concluded that there

    could be no agreement. See id. (“[T]he fact that someone should have known about a scheme or

    fraudulent activity is not enough to show that the person actually knew.” (emphasis added)); id. at

    481 (noting that to prove knowledge under a willful blindness theory, a plaintiff must allege “a

    subjective belief that there is a high probability that the fact is true, coupled with deliberate steps

    to avoid learning the fact”).

             As in Domanus, the Complaint here alleges, at most, that Fenwick should have known that

    the FTX insiders were engaged in misconduct.           But as in Domanus, those allegations are

    insufficient to establish knowledge of a RICO conspiracy and, in turn, an agreement to participate

    in it.

             Second, Plaintiffs’ RICO claim fails because the Complaint does not allege “any enterprise

    engaged in . . . a pattern of racketeering activity.” 18 U.S.C. § 1962(c) (emphasis added). The

    existence of such an enterprise is an essential element of any RICO claim. The RICO statute

    defines an enterprise to “include[] any individual, partnership, corporation, association, or other

    legal entity, or any union or group of individuals associated in fact although not a legal entity.”



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    Id. § 1961(d). But as the Eleventh Circuit has squarely held, “plaintiffs may not plead the existence

    of a RICO enterprise between a corporate defendant and its agents or employees acting within the

    scope of their roles for the corporation.” Cisneros, 972 F.3d at 1215 (quoting Ray v. Spirit Airlines,

    Inc., 836 F.3d 1340, 1357 (11th Cir. 2016)).

           Here, the only enterprise Plaintiffs allege is one between a corporate entity (FTX) and its

    agents or employees, which “included Bankman-Fried, Ellison, Friedberg, [and] the FTX Group.”

    Compl. ¶ 299; see also id. ¶ 301 (“Bankman-Fried was at all times the leader, assisted by Ellison,

    Wang, Singh, and Friedberg, who reported to Bankman-Fried as co-owners and/or as part of his

    inner circle.”). The Complaint plainly alleges that all of these individuals were employees of FTX.

    See, e.g., id. ¶¶ 54–81, 191–193, 195, 58–59. Indeed, the Complaint identifies “Samuel Bankman-

    Fried, Caroline Ellison, Gary Wang, and Nishad Singh” as “FTX Insider Defendants.” Id. at 5;

    see also id. ¶¶ 54–81 (identifying Bankman-Fried, Ellison, Wang, and Singh as “FTX’s Key

    Players”). The litany of alleged co-conspirators completely fails to establish a RICO enterprise

    because, as alleged, it comprises merely the company, employees, and attorney agents. See

    Daigneault v. Eaton Corp., 2008 WL 2604929 (D. Conn. June 16, 2008) (entity, employees, and

    attorneys did not constitute distinct RICO enterprise when employees and attorneys were acting

    as employees of company when predicate acts were committed).

           Because Plaintiffs’ Complaint fails to establish the most fundamental elements of a RICO

    conspiracy—an agreement by Fenwick to participate in the RICO enterprise and an underlying

    enterprise—the Court should dismiss this claim (Count 8).

    IV.    CONCLUSION

           This Court should dismiss each of the eight claims asserted in the Complaint under Rule

    12(b)(6) and 9(b) because Plaintiffs have failed to plausibly allege any of those claims. And



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    because Plaintiffs are unable to amend their Complaint to state a valid claim for relief, the Court

    should dismiss those claims with prejudice.

     V.    REQUEST FOR HEARING

           Pursuant to Local Rule 7.1(b)(2), Fenwick respectfully requests that the Court hold a

    hearing on Fenwick’s Motion to Dismiss. Oral argument will assist the Court in addressing the

    Complaint’s vague and conclusory allegations. Fenwick estimates that sixty (60) minutes is an

    appropriate length of time for arguing the motion to dismiss and Plaintiffs’ opposition thereto.



                                                  Respectfully submitted,
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                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on September 21, 2023, I electronically filed the foregoing with

    the Clerk of Court using CM/ECF, and that the foregoing document is being served on all counsel

    of record via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

    authorized manner for those counsel or parties who are not authorized to electronically receive

    Notices of Electronic Filing.


                                               /s/ Nicole K. Atkinson
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